Case 3:16-cv-01228-BAS-WVG Document 1-2 Filed 05/23/16 PageID.6 Page 1 of 6




                   EXHIBIT “A”
                        Case 3:16-cv-01228-BAS-WVG Document 1-2 Filed 05/23/16 PageID.7 Page 2 of 6
...   '.   \
           16

                                                       Plain'tift's Claim and ORDER
                                                       Plaintiff's                                           Clerk stamps date
                                                                                                                          date here
                                                                                                                               here when
                                                                                                                                    when form is filed.
                                                                                                                                                 filed.
                    SC-100'                            to Go to Small Claims Court
            Notice to
                   to the
                      the person
                          person being sued:
                You are
                    are the
                        the Defendant
                            Defendant if
                                       if your
                                          your name
                                               name isis listed
                                                          listedinin ® on
                                                                       on page ®
                                                                          page 22 of
                                                                                  of this
                                                                                      this form.
                                                                                           form.
                The person suing you is the Plaintiff, listed
                                                       listed in              T
                                                                              CD
                                                                      on page 2.
            o You and the Plaintiff must go to court on the trial date
                                                                  date listed
                                                                        listed below.
                                                                               below. If
                                                                                      If you
                                                                                         you
              do not go
                     go to court,
                           court, you may lose the case.
            o If you
                 you lose,
                      lose, the
                            the court
                                court can
                                      can order that your wages, money, or property be
              taken  to pay this claim.
              taken to
            o Bring witnesses,
                    witnesses, receipts,
                               receipts, and any evidence you need to prove your case.
                                                                                                             Fill in court name
                                                                                                                           name and
                                                                                                                                and street
                                                                                                                                    street address:
            o Read this
                    this form
                         form and
                              and all
                                  all pages attached to understand the claim against you
                                                                                                                 Superior Court of California, County of
                                                                                                                                   California, County
              and to protect your rights.
                                  rights.
            Aviso al Demandado:                                                                                      5~~ ?/CCO
                                                                                                                             -77(O
             Usted es el Demandado si SU
            oUsted                        nombre figura
                                       su nombre figura en
                                                        en ® de
                                                              de lala página   ®
                                                                      pagina 22 de
                                                                                de este                           ~Cl1Z Tn
                                                                                                                         .m' Co  Cj I..J7"'I
                                                                                                                              c1 G{ AJ74
             formulario.                10 demanda es el Demandante, Ia
             formulario. La persona que lo                               la que figura en                         9 <~
                                                                                                                     'soSo /?/f"c' RoQIJL
                CD
              j dedelalapágina
                         pagina 2.
                                2.                                                                               (J,J7         9<0,. /
                                                                                                                 1/, J7~ CA 9'oj,
                                                                                                             Court fills in case number when form
                                                                                                                                             form is filed.
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            oUsted    el Demandante tienen que presentarse en la corte en la
                                                                          la fecha del
             juicio indicada
                    indicada a continuaci6n.
                               continuación. Si no se presenta, puede perder el caso.               Case Number:
                                                                                                   ,?ase Number: '
                                                                                              Derringer
                                                                                                    mger vs.
                                                                                                          VS, Quicken,   loans I
                                                                                                              Quickefl Loans,
            o Si pierde
                 pierde el
                         el caso
                            caso la
                                 la corte                     Ie quiten de su sueldo, dinero 'hc '
                                    corte podria ordenar que le                                                     . .          ,
              otros bienes
                    bienes para
                             para pagar este reclamo.                                         ,- 1~~i:I~I"~Ie.     ~      •

            o Lieve
              Lleve testigos,  recibos
                     testigos, recibos  y cualquier otra prueba  que necesite para probar su  Tj
                                                                                              37,' ~O,16-00330023~~-Se'-:NC
                                                                                                                        SC-SC-N.0
              caso.
              Lea este
            oLea   este formulario
                        formulario yy todas
                                       todas las
                                             las paginas adjuntas para entender 1a
                                                                                 la demanda
                                                                                    demanda enen su contra y para proteger sus derechos.
                                                                                                                               derechos.
                                                                             Order to Go to Court
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                 Trial Th-+
                 Trial   4 Date
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                                      MAY 442016
                                Date: MAY    2016                         Clerk, by        c.SAJ.AZAR                 , Deputy

            Instructions for
            Instructions for the
                             the person suing:
            • You are the
                      the Plaintiff.
                          Plaintiff. The
                                     The person you are suing is the Defendant.
            • Before you fill out this form, read
                                             read Form
                                                  Form SC-100-LNFO,    Information for the
                                                       SC-lOO-INFO, Informationfor     the PLaintiff,
                                                                                           Plaintiff to know your rights.
                                                                                                                  rights. Get
              SC-IOO-INFO at
              SC-100-INFO     at any
                                 any courthouse or county law library, or go to www.courts.ca.gov/smaLLcLaims/jorms.
                                                                                www.courts.ca.gov/smallclaims/forms.
            o Fill
              Fill out
                    out pages
                        pages 22 and
                                  and 33 of
                                         of this
                                            this fonn.
                                                 form. Then
                                                        Then make
                                                              make copies                     this fonn.
                                                                     copies of all pages of this   form. (Make one copy for each party named in
              this case
                    case and
                         and anan extra
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                                         copy for
                                               for yourself.)
                                                   yourself.) Take
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                                                                     or mail
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                                                                                                 these copies
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                                                                                                               to the
                                                                                                                  the court
                                                                                                                      court clerk's
                                                                                                                            clerk's office and pay
              the filing
                   filing fee.
                          fee. The
                               The clerk will write thethe date
                                                           date of,
                                                                of your
                                                                    your trial in the box above.
            o You must
                   must have
                          have someone
                                someone at at least 18-not
                                                    18—not youyou or anyone else listed in
                                                                                         in this
                                                                                            this case-give
                                                                                                 case—give each Defendant a court-stamped
              copy of all
                       all five
                           five pages
                                 pages of
                                       of this
                                          this form
                                                form and
                                                     and any
                                                           any pages
                                                               pages this
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                                                                                tells you
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                                                                                                                                  "serving," or
              delivering, this
              delivering,  this form
                                form to
                                      to public
                                         public entities,
                                                 entities, associations, and some businesses.
                                                                                    businesses. See
                                                                                                  See Forms SC-104, SC-104B,
                                                                                                                      SC-I04B, and SC-I04C.
                                                                                                                                      SC-104C.
            • Go to
                 to court on
                          on your trial date listed above. Bring witnesses, receipts,
                             your trial                                               and any evidence you need to prove your case.
                                                                            receipts, and                                     case.

            Judicial Council                www.courts.ca.gov
                                California. www.courts.cagov
                             of California,
                     Councilof                                          Plaintiff's Claim and ORDER                                        SC-100, Page 11 of 5
                                                                                                                                                              5
            Revised  July 1.
            Revised July  1,2015,
                             2015. Mandatory Form
                                                                        to Go to Small Claims Court                                                    --7
                                                                                                                                                       —
                                                                                                                                                Exhibit A
            Code of Civil Procedure. §§ 116,110 et seq ..
            CodeofCivilProcedure,116.110etseq.,
            116.220(c).116.340(9)
            116.220(c), 116.340(g)
                                                                                   (Small Claims)
                                                                                                                                                  Page 4
                    Case 3:16-cv-01228-BAS-WVG Document 1-2 Filed 05/23/16 PageID.8 Page 3 of 6
,   ,
        Plaintiff(list
        Plaintiff (listnames):
                       names):                                                                              ICase
                                                                                                             CaseNumber:
                                                                                                                  Number:

                                                                                                               37 -2016-00330023-SC-SC_NC
                                                                                                               372016..0033  0023.SC..SCNC

        CD The
           The Plaintiff
               Plaintiff (the
                  Name:
                  Name:
                          (the person,
                   SJl..J)IVAI~
                   S4Q#V4
                         /Za .4
                               person, business,

                  Street address:
                  Street address:
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                                       business, or
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                                             )1
                                                  or public
                                                     public entity
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                                                                                                                            State   Zip
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                  Mailing address
                          address (if different): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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                                                   Street                                         City
                                                                                                  City                     State Zip
                                                                                                                           State Zip

                  IfIf more
                       more than
                             than one
                                  one Plaintiff,
                                      Plaintiff, list
                                                 list next
                                                      next Plaintiff here:
                                                                     here:
                  Name:
                  Name:
                          - - - - - - - - - - - - - - - - - - - - - - Phone:
                                                                      Phone:
                                                                                                                    -------------------
                  Street address:
                  Street address:
                                    Street                                                        City
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                  Mailing address
                          address (if
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                                               two Plaintiffs
                                                   Plaintffs and
                                                              and attach
                                                                  attach Form
                                                                         Form SC- bOA.
                                                                              SC-IOOA.
                              if either Plaintiff
                 D Check here if
                 U                      Plaintiff listed above
                                                         above is
                                                               is doing
                                                                  doing business
                                                                        business under
                                                                                 underaafictitious
                                                                                        fictitious name. Ifso,
                                                                                                   name. If so, attach
                                                                                                                attach Form
                                                                                                                       Form SC-I03.
                                                                                                                            SC-I 03.

        CD The
           The Defendant
               Defendant (the
                          (the person,
                               person, business,
                                        business, or public entity
                                                               entity being
                                                                      being sued) is:
                                                                                  is:
           Name:
           Name:   O/££' I cJc4)
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                                               N.J, ...:z:;A.; C         Phone:
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                                                  Street                                         City                      State    Zip
                                                                                                                                    Zip

                  If more than
                          than one
                               one Defendant, list next Defendant here:
                                                                  here:
                  Name:
                          - - - - - - - - - - - - - - - - - - - - - - Phone:                                        ------------------
                  Street address:
                                    Street
                                    Street                                                       City
                                                                                                 City                      State    Zip
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                  Mailing address (UdfJèrent):
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                                                  Street                                         City
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                                                                                                                           State    Zip
                                                                                                                                    Zip

                  D     Check here if
                        Check         more than
                                    ifmore than two
                                                 two Defendants
                                                     Defendantsand
                                                                andattach
                                                                    attachForm
                                                                           FormSC-IOOA.
                                                                                SC-IOOA.
                  D     Check here if
                        Check       ifany Defendant
                                          Defendant is
                                                     is on
                                                        on active
                                                           active military
                                                                  military duty,
                                                                           duty, and
                                                                                 and write
                                                                                     write his or her name here: _ _ _ _ _ _ _ __

        CD The
           The Plaintiff
               Plaintiff claims the Defendant owes $$ 150
                                    Defendant owes                                           (l, fI   0)     .. ((Explain below):
                                                                                                                  Explain below):
                  a. Why
                     Why oes
                          oesthe
                              theDefendant
                                  Defendantowe
                                            owethe
                                                thePlaintiff
                                                   Plaintiffmoney?
                                                             money?                   9                                             ~
                             '$( 2i)                ? gz7J A.I~ o-A...Ii 4.L..CJIJ..J
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                      4—

                        When
                        When did
                             did this
                                 this happen?  (Date):L~.L.~.L....;;.~
                                      happen? (Date):__________________
                                                         _ _ _ _ _ __
                  b. If no specific
                      Ifno specific date,
                                    date, give
                                          give the
                                                the time
                                                     time period:
                                                          period: Date
                                                                  Date started:
                                                                       started:                                 Through:
                                                                                                                Through:_____________________
                                                                                                                         ---------------
                     ~did
                  c. Ho did you
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                                                           to you?
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        RevIldJuIy1,2O15
         Revlsild July 1. 2015
                                      Plaintiff'sClaim
                                                  Claim and
                                                         and ORDER
                                                             ORDERto
                                                                   to Go
                                                                      Go to
                                                                          to Small
                                                                             Small Claims
                                                                                   Claims Court
                                                                                          Court                                       SC-100, Page2of5
                                      Plaintiff's
                                                                                                                                          Exhibit A
                                                                                                                                      SC-100, Page 2 of 5
                                                                             (SmallClaims)
                                                                            (Small Claims)                                                        -7
                                                                                                                                            Page 5
         Case 3:16-cv-01228-BAS-WVG Document 1-2 Filed 05/23/16 PageID.9 Page 4 of 6
Plaintiff (list
Plaintiff (list names).'
                names):                                                                                         Case
                                                                                                                Case Number:

              S )/
             S11,0  ~.AJ I). -::;pE:ZZ,,J
                 p. "A            €: ~ e,.Ai t:.E..)Z-
                                                E)2.—                                                          37-2016-00330023-SC-SC_NC
                                                                                                               37-201 6-0O330023-SCSC-NC

CD You must ask the Defendant (in per
                                  person,jIl writing, or by phone) to pay you before
                                                                              before you
        sue. Have
        sue. Haveyou
                  youdone
                      donethis?   0 Yes
                            this? LI    ~yz
                                     Yes.J2rNo
        If no, explain why not:
        If no, explain why not:




CD Why are you filing
               filing your claim at this courthouse?
        Thi~thouse
        This            covers the area (check the
             c9rthouse covers                  the one that applies):
        a.~ (I)
        a.  (I) Where
                Where the
                      the Defendant
                          Defendant lives
                                     lives or
                                           or does
                                              does business.
                                                   business.          (4) Where
                                                                           Where a contract (written or spoken) was
                                                                                                                  was made,
                       (2) Where the
                                 the Plaintiff's property was
                                                           was damaged.
                                                               damaged.   signed, performed, or broken by by the
                                                                                                             the Defendant
                                                                                                                 Defendant or
                       (3) Where
                           Where the
                                 the Plaintiff was injured,
                                     Plaintiff was  injured.              where the Defendant lived or did business
                                                                          where                               business when the
                                                                          Defendant made
                                                                          Defendant   made the
                                                                                            the contract.
                                                                                                contract.
        b. LI
           D Where
              Where the
                     the buyer
                          buyer or
                                or lessee signed the
                                   lessee signed  the contract,
                                                      contract, lives
                                                                lives now,
                                                                      now, or
                                                                            or lived
                                                                               lived when
                                                                                     when the
                                                                                           the contract
                                                                                               contract was
                                                                                                        was made,
                                                                                                             made, if
                                                                                                                    if this
                                                                                                                       this claim,
                                                                                                                            claim,
              is about
              is about an
                       an offer
                          offer or
                                or contract for personal,
                                   contract for personal, family,
                                                          family, or
                                                                   or household   goods, services,
                                                                      household goods,   services, or loans. (Code Civ. Proc.,
                                                                                                   or loans.

              § 395(b).)
              §
           D Where the buyer signed the contract, lives now, or lived when the contract was made, if
        c. LI                                                                                     if this
                                                                                                     this claim is about a
                                                                     Code, §§ 1812.10.)
              retail installment contract (like a credit card). (Civ Code,
           D Where the
        d. LI       the buyer signed the contract, lives now, or lived when the contract was made, or where the vehicle is
                          garaged, if this claim is about a vehicle finance sale. (Civ Code,
              permanently garaged,                                                           § 2984.4.)
                                                                                       Code. §
        e. fl
           D Other (specify):
                                        --------------------------------------------------------------------------------------------------------------------------------

                           the place checked in ®                                         92 2 7t 7 r-                             c
® List the zip code
                  code of the                           ® above (Jyou
                                                                   (if you know):
                                                                             know):                                                G


   Is your claim
             claim about
                    about anan attorney-client fee dispute? LI           D Yes ~        No
CD Ifyes,
   Ifyes, and ifyou have had arbitration,
              Jyou                        fill out Form
                             arbitratian,jill      Form SC-JO] attach         SC-~
                                                               attach itit to this jbrm, and check here: D
                                                                              thisfarm,                  fl
        Are you suing          public entity? LI
                   suing a public                   DYesYes LI D,Noo
        Ifyes, you must file
        If                                                           D A claim was filed on (date):
                                                              first. El
                         file a written claim with the entity first.
                                                                                                                                ----------~~----~----------
        IfIfthe
             the public
                 public entity
                        entity denies
                               denies your claim
                                           claim or
                                                 ordoes
                                                    does not answer within the
                                                                           the time allowed by law.
                                                                                               law, you can file  this Jorm.
                                                                                                             file this form.
o
Q
        Have you
        DYes
             you filed
                 filed more
           Yes £No
                 "No
                       more than
                            than 12 other small claims within the last 12 months in California?
                                    Ifyes, the
                                    Ifyes,  thefilingJeeJor  thiscase
                                               fiuingfeefor this  case will
                                                                       willbe
                                                                            be higher.
                                                                               higher.
        LI
          understand that
        I understand that by filing a claim in small claims court, I have no right
                          by filing                                          right to
                                                                                   to appeal this claim.
®
@       I have not filed,
        I          filed, and
        California during
                          and understand that I cannot file,
                    during this
                           this calendar year.
                                                       file, more than two small claims cases for more than $2,500 in

        I declare, under penalty
          declare, under penalty of perjury under California State law, that the information above and on any attachments to
        this form' tr~e
        this fOn;!.l  e and
                         and correct.
                              correct.                                                                      3 /.                         J..J2..
        Date:
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                                 Plaintiff       orprints
                                           types or prints name
                                                            name here
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                                                                                             Plaintiff       here
                                                                                                       signs here
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        Date:                                                                                          ~
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                                     Second Plaintiff
                                     Second            types or
                                            Plaintiff types  or prints
                                                                prints name
                                                                       name here                                    Second Plaintiff
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           'lJ' ,
                            Requests for Accommodations
                            Requests
                                'stive listening systems, computer-assisted real-time captioning, or sign
                            Assistive                                                                   sign language interpreter
                            services
                            services are
                                      are available if you ask at least five
                                                                        five days before the trial.
                                                                                             trial. Contact
                                                                                                    Contact the
                                                                                                             the clerk's
                                                                                                                 clerk's office for Form
                            MC-410,10, Request
                                       RequestJor   Accommodations by
                                                for Accommodations     by Persons With Disabilities
                                                                                         Disabilitiesand
                                                                                                      andResponse.            Code. § 54.8.)
                                                                                                          Response. (Civ. Code,

Revised July 1, 2015
                                  Plaintiff's Claim and ORDER to Go to Small Claims
                                                                             Claims Court                                                       SC -100, Page
                                                                                                                                                SC-100,       3 of 5
                                                                                                                                                   Exhibit A~
RevisedJutyl,2015                                                                                                                                        Page3of5

                                                                        (Small
                                                                        (Small Claims)
                                                                               Claims)
                                                                                                                                                     Page 6
                 Case 3:16-cv-01228-BAS-WVG Document 1-2 Filed 05/23/16 PageID.10 Page 5 of 6
I   •




                SC-100                       Information for the Defendant (the person
                                                                                person being sued)
        "Small claims court" court" is  is aa special
                                               special court where
                                                                where claims
                                                                        claims for                Do
                                                                                                  Do I have
                                                                                                         have options?
                                                                                                                  options?
        $5,000 or less
        $5,000       less are
                          are decided.
                              decided. A    A "natural
                                                "natural person"
                                                          person" (not a                          Yes. [fyou
                                                                                                  Yes.   If you are
                                                                                                                  are being sued,
                                                                                                                              sued, you
                                                                                                                                     you can:
                                                                                                                                            can:
        business or public
        business       public entity)
                               entity) maymay generally
                                                  generally claim
                                                             claim upup to                        . Settle
                                                                                                     Settle your case  case before
                                                                                                                               before the the trial.
                                                                                                                                               trial. If you
                                                                                                                                                         you and the
        $10,000, including sole proprietor. (See below for
        $10,000,    including   a  sole   proprietor.    (See  below                                             agree on
                                                                                                     Plaintiff agree    on how to to settle
                                                                                                                                     settle the
                                                                                                                                              the case,
                                                                                                                                                  case, both of you must
        exceptions.*)
        exceptions.      The process
                      *) The  process is   is quick
                                              quick andand cheap.
                                                           cheap. The rules are                      notify the
                                                                                                     notify  the court.
                                                                                                                   court. Ask
                                                                                                                          Ask the
                                                                                                                                the Small
                                                                                                                                    Small Claims Advisor for help.   help.
        simple and informal. You are the Defendant-the
                                                     Defendant—the person                          o Prove this
                                                                                                     Prove     this is the wrong
                                                                                                                               wrong court.
                                                                                                                                          court. Send a letter to the
                sued. The person
        being sued.         person who who is is suing
                                                  suing you
                                                         you is the Plaintiff.
                                                                      Plaintiff.                     court before your trialtrial explaining why you think this is
        Do I need a lawyer?                                                                          the wrong court.
                                                                                                     the           court. Ask thethe court toto dismiss
                                                                                                                                                 dismiss the claim.
                                                                                                                                                              claim. You
        You may talk to a lawyer before   before or or after
                                                       after the
                                                              the case.
                                                                  case. But you                      must serve (give) a copy of your letter (by mail or in
                                                                                                     must
                   have a lawyer represent
        may not have                  represent you you in
                                                         in court
                                                            court (unless
                                                                    (unless this
                                                                              this is                person) to
                                                                                                     person)    to all
                                                                                                                   all parties.
                                                                                                                       parties. (Your letter to  to the court must say
        an appeal from a small claims case).     case).                                              you have done so.)
                                                                                                     you
        How do I get ready for court?                                                             . Go to to the
                                                                                                              the trial
                                                                                                                    trial and
                                                                                                                          and trytry to
                                                                                                                                      to win
                                                                                                                                           win your case.
                                                                                                                                                        case. Bring
                                                                                                                                                                Bring
        You don't have to file any papers before your trial, unless                                  witnesses, receipts,
                                                                                                     witnesses,    receipts, and any evidence you    you need to prove
        you think this is the wrong
                                 wrong courtcourt for
                                                    for your case. But bring to                             case. To make sure the witnesses
                                                                                                     your case.                           witnesses go to the trial, fillfill
        your trial any witnesses,
                         witnesses, receipts,
                                        receipts, andand evidence that supports                      out Form SC-107,
                                                                                                                  SC-I07, and the clerk will   will subpoena (order)
        your case. And read "Be PreparedPrepared for  for Your Trial" at                             them to go.
                                                                                                  o  Sue the person who is suing you. File Form
        www. courts. ca.gov/smallclaims/prepare.
        www.courts.ca.gov/smallclaims/prepare.
                                                                                                     SC-120, Defendant's Claim.  Claim. There are strict filing
        What if I need an accommodation?
            you have a disability or are  are hearing
                                                hearing impaired, fill fill out                     deadlines you must follow.follow.
        If you
                                                                                                  o Agree with the Plaintiff's claim       claim and pay the
        Form MC-410,
        Form    MC-410, Requestfor
                           Request for Accommodations.
                                            Accommodations. Give the form
                                                                                                    money. Or, if you can't pay      pay the money now, go to your
        to your court clerk or the  the ADN
                                         ADA/Access
                                                  Access Coordinator.
                                                                                                    trial and say you want to make payments.
                                                                                                    trial
        What if I don't speak English well?                                                         Let the case "default." If you
        Bring an adult who is not a witness witness to to interpret for you, or
                                                                                                  o                                        you don't settle and do not
        ask the court clerk for an   an interpreter at least five days before                       go to the trial (default), the judge judge may
                                                                                                                                                may give the Plaintiff
        your court date.
                      date. A court-provided
                              court-provided interpreter may not be                                 what he or she is asking for plus court costs. If        If this
                                                                                                     happens, the Plaintiff can legally take
                                                                                                     happens,                                   take your money, wages,
        available or there may be    be a fee
                                            fee for
                                                  for using a court interpreter
        unless you qualify for a fee   fee waiver.
                                            waiver. You may ask the court                           and property to pay the judgment.
                                                                                                  What if I need more time?
        for a list of
                   of interpreters and also the Request to Waive Court
                                                                                                  You can change the trial date if:
        Fees (form FW-001).
                       FW-OOl).                                                                   o You cannot go to court on the scheduled date (you will           wi II
        Where can I get the court     court formsforms I need?                                      have to pay a fee to postpone the trial), or
        Go to any courthouse or your county law library, or print                                 o You did not get served (receive this order to go to court)

         forms at www.
        forms             courts. ca.gov/snzallclaims/Jorms.
                   www.courts.ca.gov/smallclaims/forms.                                             at least 1515 days before the trialtrial (or 20 days ifif you live
        What happens at the trial?                                                                  outside the county), or
        The judge will listen to both sides.  sides. The judge
                                                           judge may make make a                  o You need more time to get an interpreter. One
        decision at your trial or mail        the decision to you later.
                                       mail the                                                     postponement is allowed, and you will not have to pay a
        What if I lose the case?                                                                    fee to delay the trial.
        If you lose, you cancan appeal.
                                 appeal. You'll
                                             You'll have to pay a fee.                            Ask the Small Claims Clerk about the rules and fees for
        (Plaintiffs cannot appeal their own claims.)                                              postponing a trial. Or fill out Form SC-150 (or write a
        • If
           If you were at the trial, filefile Form SC-140, Notice of        of                    letter) and mail it to the court and to all other people listed
           Appeal. You must file  file within
                                        within 30  30 days
                                                      days after
                                                             after the
                                                                   the judge's
                                                                        judge's                   on your court papers before the deadline. Enclose a check
           decision.                                                                              for your court fees, unless a fee waiver was granted.
           If you were not at the trial, fill
        • If                                  fill out and file Form SC-135,
                                                                           SC-13 5,                                 help?
                                                                                                             Need help?
           Notice of
                   ofMotion to Vacate Judgment and Declaration, to
           ask the judge to cancel the judgment
                                              judgment (decision). If
           judge does not give you a new trial, you have 10
                                                                          If the
                                                                       10 days to
                                                                                                (7)
                                                                                                 ?           Your county's
                                                                                                             free.
                                                                                                                   county's Small
                                                                                                                            Small Claims
                                                                                                                                  Claims Advisor
                                                                                                                                         Advisor can help
                                                                                                                                                     help for


           appeal the decision. File Form SC-140.                                                       I
                                                                                                        P                                                               I
        For more information on appeals, see www.courts.ca.gov/
        smaliclaims/appeals.
        smallclaimslappeals.                                                                            L
                                                                                                        [_
                                                                                                                   www.courts.ca.gov/smalfclaims/advisor.
                                                                                                          Or go to www.
                                                                                                                                                                        _]
                                                                                                                        courts. ca.gov/srnallclairns/advisor.
        *• Exceptions:
           Exceptions: Different
                       Differentlimits
                                  limitsapply
                                         applyininananaction
                                                       actionagainst
                                                              againstaadefendant
                                                                        defendantwho
                                                                                  whoisisaaguarantor.
                                                                                            guarantor. (See            Proc. §§ 116.220(c).)
                                                                                                        (See Code Civ. Proc.    116.220(c).)

        RevsedJuIy1,2O15
        Revised July 1, 2015
                                           Plaintiff's Claim
                                                       Claim and
                                                             and ORDER
                                                                 ORDER to to Go
                                                                             Go to Small
                                                                                   Small Claims
                                                                                         Claims Court
                                                                                                Court                                                  SC-100, Page4ofs
                                                                                                                                                       SC-100, Page 4 of 5
                                           Plaintiff's
                                                                  (Small Claims)
                                                                                                                                                          Exhibit A
                                                                                                                                                                  -7
                                                                                                                                                            Page 7
                 Case 3:16-cv-01228-BAS-WVG Document 1-2 Filed 05/23/16 PageID.11 Page 6 of 6
,   .
                SC-100                        Informacion
                                              Información para el d~mandado
                                                          para el demandado (Ia
                                                                            (Ia persona
                                                                                persona demandada)
                                                                                        demandada)
        La "Corte
        La  "Corte de
                    de reclamos
                       reclamos menores"
                                     menores" es es una
                                                     una corte
                                                          corte especial
                                                                especial donde
                                                                            donde                     (.,Tengo
                                                                                                         Tengo otras otras opciones?
                                                                                                                                opciones? Sf.        Si. SiSi 10
                                                                                                                                                              lo estan
                                                                                                                                                                   están demandando,
                                                                                                                                                                              demandando,
        se deciden
        se deciden casos
                     casos por
                             por$5,000
                                  $5,0000ómenos.
                                             menos.UnaUna "persona
                                                           "persona natural"
                                                                       natural' (que
                                                                                (que                   puede:
                                                                                                      puede:
        no sea
        no  sea un
                un negocio
                    negocio nini una
                                 una entidad
                                      entidad publica)
                                               pUblica) puede
                                                         puede reclamar
                                                                 reclamar hasta
                                                                            hasta                          Resolver su
                                                                                                      • Resolver           su casocaso antes
                                                                                                                                           antes del    del juicio.
                                                                                                                                                              juicio. Si    Si usted
                                                                                                                                                                                 usted yy el el
        $10,000. Una
        $10,000.   Una "persona
                        "persona natural"
                                    natural" (que
                                              (que no sea un negocio ni   ni una
                                                                             una                          Demandante
                                                                                                          Demandante se        se ponen
                                                                                                                                    ponen de  de acuerdo
                                                                                                                                                    acuerdo en    en resolver
                                                                                                                                                                      resolver el     el caso,
                                                                                                                                                                                         caso, ambos
                                                                                                                                                                                                  ambos
        entidad publica),
        entidad  pblica), que
                           que incluye
                                 incluye un
                                          un dueño
                                             duefio Unico,
                                                     unico, generalmente
                                                            generalmente puedepuede                       tienen
                                                                                                           tienen queque notificar
                                                                                                                          notificar aa la  Ia corte.
                                                                                                                                                corte. Pidale
                                                                                                                                                           Pidale al al Asesor
                                                                                                                                                                         Asesor de    de Reclamos
                                                                                                                                                                                           Reclamos
                         $10,000.
        reclamar hasta $10,000.                                                                           Menores
                                                                                                           Menores que  que 10 Ic ayude.
                                                                                                                                   ayude.
        (Vea abajo para
        (Vea         para las  excepciones.*) EI
                          las excepciones.*)     El proceso es rapido
                                                                  rápido y barato.
                                                                            barato.
                                                                                                      • Probar
                                                                                                           Probar que es la
                                                                                                                       que     es    Ia corte
                                                                                                                                         corte equivocada.
                                                                                                                                                     equivocada. Envie        Envie una una carta
                                                                                                                                                                                              cada a la    Ia
        Las reg
        Las  reglas son sencillas
                las son  sencillas ee informales.
                                       informales. Usted
                                                    Usted es
                                                           es el
                                                              el Demandado-Ia
                                                                  Demandado—la
                                                                                                          corte    antes del
                                                                                                           corte antes      del juicio
                                                                                                                                  juicio explicando
                                                                                                                                           explicando por     por que
                                                                                                                                                                    qué creecree queque eses laIa corte
                                                                                                                                                                                                  corte
        persona que
        persona   que se
                      se esta
                          estã demandando.
                                 demandando. La  La persona
                                                     persona que
                                                              que 10lo esta
                                                                       está
                                                                                                          equivocada.
                                                                                                          equivocada. Pidale Pidale a la   Ia corte
                                                                                                                                                corte que que despida
                                                                                                                                                                despida el     el reclamo.Tiene
                                                                                                                                                                                   reclamo.Tiene
        demandando es
        demandando     es el
                           el Demandante.
                              Demandante.
                                                                                                          que
                                                                                                          que entregar
                                                                                                                 entregar (dar)
                                                                                                                              (dar) unauna copia
                                                                                                                                              copia de   de su
                                                                                                                                                             su carta
                                                                                                                                                                  cada (por (por correo
                                                                                                                                                                                    correo 0o en en
           Necesito un
         (.Necesito           abogado?
                         un abogado?                                                                      persona)
                                                                                                          persona) a todas todas las las partes.
                                                                                                                                          pades. (Su    (Su carta
                                                                                                                                                             cada a Ia    la corte
                                                                                                                                                                               corte tiene
                                                                                                                                                                                       tiene queque
         Puede hablar con  con unun abogado
                                      abogado antes
                                                  antes 0o despues
                                                                después del del caso.
                                                                                 caso. Pero
                                                                                         Pero no          decir
                                                                                                          decir queque hizo la  Ia entrega.)
                                                                                                                                    entrega.)
                 tener aa un
        puede tener         un abogado
                                abogado que  que 10lo represente
                                                         represente ante ante la
                                                                               la corte
                                                                                  corte (a(a
                                                                                                      • Ir Ir al  juicio yy tratar
                                                                                                               al juicio        tratar de  de ganar
                                                                                                                                                  ganar el    el caso.
                                                                                                                                                                   caso. Lleve Lleve testigos,
                                                                                                                                                                                        testigos,
         menos que se trate trate de
                                   de una
                                       una apelacion
                                             apelaciOnde       de un
                                                                   un caso
                                                                       caso dede reclamos
                                                                                  reclamos
                                                                                                          recibos
                                                                                                          recibos y cualquier
                                                                                                                        cualquier pruebaprueba que   que necesite
                                                                                                                                                            necesite para           probar su
                                                                                                                                                                           para probar        su caso.
                                                                                                                                                                                                   caso.
         menores).
        menores).
                                                                                                          Para
                                                                                                          Para asegurarse
                                                                                                                   asegurarse que    que los
                                                                                                                                           los testigos
                                                                                                                                                  testigos vayanvayan al   al juicio,
                                                                                                                                                                               juicio, Ilene
                                                                                                                                                                                        Ilene el el
           Cómo me
        (.Como       me preparo
                           preparo para para ir ir aa la Ia corte?
                                                              corte?                                      formulario
                                                                                                          formulario SC-107,
                                                                                                                          SC-107, y el     el secretario
                                                                                                                                               secretario emitiraemitirá una una orden
                                                                                                                                                                                    orden de  de
         No tiene que presentar
                          presentar ningunos
                                        ningunos papeles
                                                      papeles antes del juicio,  juicio, a menos
                                                                                            menos         comparecencia
                                                                                                           comparecencia ordenandoles
                                                                                                                                   ordenéndoles que       que se se presenten.
                                                                                                                                                                     presenten.
        que piense que esta   ésta eses la
                                         la corte
                                            corte equivocada
                                                    equivocada para su        su caso.
                                                                                  caso. Pero
                                                                                         Pero         • Demandar a           a laIa persona
                                                                                                                                     persona que        que 10 lo demando.
                                                                                                                                                                    demandó. Presente   Presente el     el
        Ileve
        lIeve al juicio cualquier
                          cualquier testigos,
                                       testigos, recibos
                                                     recibos yy pruebas que apoyan   apoyan su  su
                                                                                                          formulario
                                                                                                          formulario SC-120,
                                                                                                                          SC-i 20, Reclamo
                                                                                                                                        Reclamo del          demandado. Hay
                                                                                                                                                         del demandado.             Hay fechas
                                                                                                                                                                                           fechas
        caso. Y lea     'Esté preparado
                   lea "Este   preparado para  para su su juicio"
                                                             juicio" en
                                                                      en www.courts.ca.gov/
                                                                                                          limite
                                                                                                          timite estrictas
                                                                                                                   estrictas que que debe
                                                                                                                                        debe seguir.
                                                                                                                                                  seguir.
        reclamosmenores/preparese.
        reclamosmenores/preparese.
                                                                                                      • Aceptar el      el reclamo
                                                                                                                             reclamo del             Demandante yy pagar
                                                                                                                                             del Demandante                        pagar el   el
           Qué hago si
        (.Que              si necesito
                              necesito una   una adaptacion?
                                                     adaptación?
                                                                                                          dinero. 0, si
                                                                                                          dinero.           si no
                                                                                                                                no puede
                                                                                                                                     puede pagar en ese momento,     momento, vaya     vaya al  al juicio
                                                                                                                                                                                                    juicio
        Si tiene una discapacidad 0o tiene impedimentosimpedimentos de      de audiciOn,
                                                                                audicion, Ilene
                                                                                                          y diga que quiere hacer los           los pagos.
                                                                                                                                                     pagos.
        el formula
            formulario
                     rio MC-410,
                          MC-41 0, Request for Accomodations.
                                                         Accomodations. Entregue el          el
        formulario al secretario
                          secretario de de la
                                            Ia corte
                                               corte 0o al   al Coordinador
                                                                Coordinador de Acceso/                • No ir al    al juicio y aceptar el             el fallo
                                                                                                                                                           fallo por falta  falta de  de
        ADA de su corte.
                       corte.                                                                             comparecencia.
                                                                                                          comparecencia. Si             Si no
                                                                                                                                            no lIega
                                                                                                                                                  Ilega aa unun acuerdo
                                                                                                                                                                   acuerdo con    con elel
                                                                                                          Demandante y no va          va alal juicio
                                                                                                                                               juicio (fallo
                                                                                                                                                         (fallo por
                                                                                                                                                                 por falta
                                                                                                                                                                       falta de  de
           Qué pasa si no
        (.Que                      hablo ingles
                              no hablo       iriglés bien? bien?
        Traiga a un adulto que   que nono sea
                                            sea testigo
                                                 testigo para  para que le
                                                                                                          comparecencia), el juez Ie            le puede otorgar at              Demandante 10
                                                                                                                                                                            al Demandante             lo
                                                                           Ie sirva de
                                                                                                          que está
                                                                                                                 esta reclamando más       mas los costos de Ia           la corte.
                                                                                                                                                                              corte. En En ese
                                                                                                                                                                                             ese caso,
                                                                                                                                                                                                    caso,
        intérprete.
        interprete. 0 pidapida al
                                al secretario
                                    secreta rio de Ia   la corte que le   Ie asigne uno. Si
                                                                                                          el Demandante legalmentelegal mente puede  puede tomar su dinero,      dinero, su su sueldo
                                                                                                                                                                                                sueldo
        quiere que Ia      corte Ie
                       la corte   le asigne
                                      asigrie un
                                               un interprete,
                                                    intérprete, 10   lo tiene que pedir como c~mo
                                                                                                          o sus bienes para cobrar el             el fallo.
                                                                                                                                                     fallo.
        minimo
        minima menos cinco dias      dias antes
                                           antes de la    Ia fecha
                                                              fecha en que tenga que ir       Ir a
        Ia
        la corte. Es posible que   que nono haya
                                             haya disponible
                                                     disponible un intérprete
                                                                          interprete                 (.Que
                                                                                                       ,Qué hago si necesito mas                 más tiempo?
                                                                                                                                                          tiempo? Puede cambiar Ia                  la
        proporcionado por Ia         corte 0o que
                                 la corte      que tenga
                                                      tenga que pagar una cuota por                  fecha
                                                                                                     fecha del juicio si:    Si:

        emptear
        emplear un intérprete
                        interprete de de la
                                          Ia corte,
                                             corte, a menos que tenga una                            • No puede ir a Ia        la corte en Ia    la fecha
                                                                                                                                                     fecha programada (tendrá       (tendra que
        exenciOn
        exencion de  de cuotas.
                         cuotas. Puede
                                     Puede pedir
                                              pedir aa la  Ia corte
                                                               corte una
                                                                      una lista de intérpretes
                                                                                      interpretes        pagar una cuota para aplazar el juicio), o                     0
        y Ia
           la Solicitud de exenciOn
                              exencion de   de cuotas
                                                cuotas de   de laIa corte
                                                                    corte (formulario                • No le   Ie entregaron los    los documentos
                                                                                                                                         documentos legalmente legalmente (no      (no recibiO
                                                                                                                                                                                        recibio Ia la
        FW-00i
        FW-001S). S).                                                                                     orden para ir a Ia         corte) por 10
                                                                                                                                 la corte)            lo menos
                                                                                                                                                          menos 15 dias antes      antes deldel juicio
                                                                                                                                                                                                 juicio
         ,Dónde puedo obtener
        (.Donde                    obtener los   los formularios
                                                      formularios de Ia      la corte que                (020
                                                                                                         (o   20 dias si si vive fuera del condado),condado), o     0

        necesito? Vaya a cualquier edificio de Ia               la corte, Ia
                                                                           la biblioteca legal       • Necesita más     mas tiempo para conseguir intérprete.       interprete. (Se permite
        de su condado, o       0 imprima
                                  imprima los los formularios
                                                   formularios en www.courts.ca.gov/
                                                                      www.courts.ca.gov/                  un solo aplazamiento sin tener que pagar cuota para aplazar
        smal/claims/forms
        smallc/aims/forms (pagina  (página esta
                                              está enen ingles).
                                                         inglés).                                         el juicio).
                                                                                                     Preguntele al
                                                                                                     PregUntele        al secreta
                                                                                                                          secretario  rio de
                                                                                                                                           de reclamos
                                                                                                                                                 reclamos menores sobre las reg                reglaslas y
          Qué pasa
        (.Que     pas a en en el juicio?
                                                                                                     las cuotas para aplazar un                 juicio. 0 Ilene
                                                                                                                                          un juicio.         Ilene el el formulario SC-150 (o            (0
        El
        EI juez escuchará
                   escuchara a ambas            partes. EI
                                     ambas partes.        El juez puede tomar su .                   escriba una  una carta) yy envielo antes     antes del plazo plazo aa Ia   la corte y ya a todas
        decisiOn     durante la
        decision durante         Ia audiencia
                                     audiencia 0o enviarsela
                                                     enviársela por correo después.
                                                                                 despues.                           personas que   que figuran
                                                                                                                                         figuran en   en sus
                                                                                                                                                           sus papetes
                                                                                                                                                                  papeles de     de Ia
                                                                                                                                                                                     la corte.
                                                                                                     las otras personas
         .Qué pasa
        (.Que     pas a si si pierdo
                                pierdo el caso?                                                      Adjunte un   un cheque para   para pagar los      los costos de  de Ia  la corte, a menos
        Si
        Si pierde,
             pierde, puede
                       puede apelar.       Tendrá que pagar una cuota. (El
                                apelar. Tendra                                    (EI                que le  Ie hayan
                                                                                                                hayan dado
                                                                                                                         dado una  una exenciOn.
                                                                                                                                         exencion.
        Demandante
        Demandante no puede apelar su               su propio reclamo.)
        • Si
           Si estuvo
           de
                estuvo presente
            de apelaciOn.
                         presente en el    el juicio,
                                               juicio, Ilene el formulario SC-140, Aviso
                apelacion. Tiene que presentarlo dentro de 30 dias depués             depues
                                                                                                     f7\
                                                                                                      4")
                                                                                                     '-V           <.Necesita ayuda? El
                                                                                                                    Necesita ayuda?  EI Asesor
                                                                                                                                        Asesor de
                                                                                                                    Menores de su condado le
                                                                                                                                                de Reclamos
                                                                                                                                                   Reclamos
                                                                                                                                           Ie puede ayudar sin cargo.
           de
           de Iala decisiOn
                   decision del juez.
        • SiSi no
                no estuvo
                    estuvo en en el juicio,
                                      juicio, Ilene
                                               Ilene yy presente el formulario SC-i       35,
                                                                                     SC-135,             I
                                                                                                         P
           Aviso
           Aviso de de peticiOn
                        peticion para anular el fallo yy DeclaraciOn
                                                                Declaracion para para pedirle
                                                                                       pedirle
           al
           al juez
               juez que
                      que anule
                           anule el fallo (decision). Si Ia     la code
                                                                    corte no
                                                                          no leIe otorga
                                                                                  otorga un
                                                                                         un
           nuevo
            nuevo juicio,
           formulario
                     juicio, tiene
            formulario SC-140.
                              tiene 10
                          SC-140.
                                       10 dias para
                                                  para apelar
                                                        apelar Iala decisiOn.
                                                                    decision. Presente
                                                                                Presente el              L
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